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   d/b/a X.Labs
 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11 ROYAL HOLDINGS                           )    CASE NO.: 2:20-cv-4093
   TECHNOLOGIES CORP. D/B/A                 )
12 X.LABS, a Delaware corporation,          )    COMPLAINT FOR:
                                            )    (1) INTENTIONAL
13               Plaintiff,                 )    INTERFERENCE WITH
                                            )    CONTRACTUAL
14        v.                                )    RELATIONS;
                                            )    (2) INTENTIONAL
15 IP VIDEO MARKET INFO INC., a             )    INTERFERENCE WITH
   Hawaii corporation,                      )    PROSPECTIVE ECONOMIC
16                                          )    RELATIONS;
              Defendant.                    )    (3) NEGLIGENT
17                                          )    INTERFERENCE WITH
                                            )    PROSPECTIVE ECONOMIC
18                                          )    RELATIONS;
                                            )    (4) DEFAMATION (CAL. CIV.
19                                          )    CODE § 44 ET SEQ.);
                                            )    (5) TRADE LIBEL;
20                                          )    (6) UNFAIR COMPETITION
                                            )    (CAL. BUS. & PROF. CODE §
21                                          )    17200 ET SEQ.);
                                            )    (7) COMMON LAW UNFAIR
22                                          )    COMPETITION;
                                            )    (8) FALSE DESCRIPTION
23                                          )    AND FALSE
                                            )    REPRESENTATION (15 U.S.C.
24                                          )    § 1125(a)); AND
                                            )    (9) FALSE DESCRIPTION
25                                          )    AND FALSE
                                            )    REPRESENTATION (CAL.
26                                          )    BUS. & PROF. CODE § 17500
                                            )    ET SEQ.);
27                                          )
                                            )    DEMAND FOR JURY TRIAL
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     COMPLAINT                             -1-
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 1         Plaintiff Royal Holdings Technologies Corp. d/b/a/ X.Labs (“X.Labs”)
 2 alleges as follows for its Complaint against Defendant IP Video Market Info Inc.
 3 (“IPVM”):
 4                     L.R. 8-1 JURISDICTIONAL STATEMENT
 5         1.    This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331
 6 and 1338(a), as this case involves federal questions arising under the Trademark
 7 Act of 1946 (“Lanham Act”), as amended, 15 U.S.C. § 1051 et seq., and related
 8 intentional interference with contractual relations, intentional interference with
 9 prospective economic relations, negligent interference with prospective economic
10 relations, defamation, trade libel, unfair competition, and false description and
11 false representation, including Cal. Civ. Code § 44 et seq., Cal. Bus. & Prof. Code
12 § 17200 et seq., and Cal. Bus. & Prof. Code § 17500 et seq. This Court has
13 supplemental jurisdiction pursuant to 28 U.S.C. §§ 1338(b) and 1367(a) over the
14 asserted state law claims. This Court’s jurisdiction is also invoked pursuant to 28
15 U.S.C. § 1332, as this action involves a controversy between citizens of different
16 states and an amount in controversy which exceeds the value of $75,000, exclusive
17 of interest and costs.
18                               NATURE OF THE CASE
19         2.    This case concerns IPVM’s unlawful and malicious publication of
20 false, misleading, deceptive, disparaging, and defamatory statements regarding
21 X.Labs and its proprietary Feevr system.
22         3.    X.Labs launched the Feevr system on March 25, 2020, against the
23 backdrop of an ongoing worldwide pandemic of Coronavirus Disease 2019
24 (“COVID-19”). COVID-19 is highly infectious and affects different people in
25 different ways, with symptoms in infected individuals ranging from no symptoms
26 or mild symptoms to severe illness and death. One of the common symptoms of
27 COVID-19 is fever.
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     COMPLAINT                                  2
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 1         4.    X.Labs’ Feevr system is a proprietary, artificial intelligence (“AI”)-
 2 based thermal screening system. The Feevr system performs a preliminary scan to
 3 efficiently and effectively screen and detect individuals in a crowd with an
 4 elevated forehead skin temperature. Those individuals may then be isolated for
 5 secondary screening and medical examination. The non-contact nature of the
 6 Feevr system reduces the risk of cross-infection between the user and individuals
 7 screened.
 8         5.    IPVM has published articles containing an abundance of false,
 9 misleading, disparaging, and deceptive statements regarding the Feevr system,
10 including articles published on or about March 31, 2020, April 14, 2020, and April
11 17, 2020, respectively entitled “USA’s Feevr Thermal System Examined,”
12 “Beware Of Feevr,” and “FDA ‘Does Not Intend to Object’ To Unapproved Fever
13 Detection Cameras” (collectively, “Articles,” “IPVM Articles,” or “IPVM’s
14 Articles”). Since the publication of the IPVM Articles, numerous X.Labs
15 customers have terminated or suspended their sales agreements for the Feevr
16 system and cited the IPVM Articles in doing so. IPVM’s false, misleading,
17 disparaging, and deceptive statements also caused X.Labs’ supplier, Flir, to
18 suspend its agreement with X.Labs for a period of time. On information and
19 belief, at least some of X.Labs’ prospective customers have similarly severed their
20 business relationships with X.Labs and will not be entering into contracts to
21 purchase X.Labs’ Feevr system due to the IPVM Articles. The IPVM Articles
22 have caused and continue to cause great and irreparable harm to X.Labs’ business
23 reputation, goodwill, and integrity and to sales of its Feevr system. On information
24 and belief, IPVM knew or should have known that its publication of the Articles
25 would harm X.Labs.
26         6.    Despite X.Labs’ demands that IPVM immediately retract and disavow
27 the IPVM Articles, IPVM has maintained the IPVM Articles publicly available on
28 its website and to its claimed “10,000+” subscribers and actively encouraged the
     COMPLAINT                                  3
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 1 dissemination of the Articles and the false, misleading, disparaging, and deceptive
 2 statements in the IPVM Articles. IPVM has also refused X.Labs’ request that
 3 IPVM provide any and all information, including any documentation, as to any
 4 tests or analyses that IPVM or any entity on IPVM’s behalf has done on the Feevr
 5 system and to set forth the credentials and experience of each person that IPVM
 6 believes qualifies IPVM or any third party acting on its behalf to reliably and
 7 accurately test and evaluate the Feevr system. In light of the harm that IPVM’s
 8 numerous false, misleading, disparaging, and deceptive statements have inflicted
 9 and continue to inflict to X.Labs’ sales of the Feevr system and, moreover, to its
10 business reputation, goodwill, and integrity, X.Labs has no choice but to seek
11 judicial relief through this action.
12                                     THE PARTIES
13         7.     X.Labs is a corporation organized under the laws of Delaware and
14 registered to do business in California with its principal place of business located at
15 8560 Sunset Boulevard, 10th Floor, West Hollywood, California 90069.
16         8.     IPVM is a for-profit corporation organized under the laws of Hawaii
17 with its principal place of business located at 3713 Linden Street, Suite B,
18 Bethlehem, Pennsylvania 18020. On information and belief, IPVM is funded by
19 its subscription-based memberships and has members across the United States,
20 including in the Central District of California. IPVM has a website through which
21 its subscribers and members and the public access IPVM’s content. IPVM makes
22 subscriber and member content on its website available to the general public from
23 time to time. IPVM has made the IPVM Articles available to the general public.
24 IPVM’s website is interactive in that it allows for comment and dialogue among
25 subscribers, members, the public, and IPVM. On information and belief, IPVM
26 provides online courses to individuals across the United States, including
27 individuals in the Central District of California, and provides certifications for
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     COMPLAINT                                   4
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 1 individuals who pass its online courses across the United States, including
 2 individuals in the Central District of California.
 3                             JURISDICTION AND VENUE
 4         9.     This Court has subject matter jurisdiction over this action pursuant to
 5 28 U.S.C. §§ 1331 and 1338(a), as this case involves federal questions arising
 6 under the Lanham Act, as amended, 15 U.S.C. § 1051 et seq., and related
 7 intentional interference with contractual relations, intentional interference with
 8 prospective economic relations, negligent interference with prospective economic
 9 relations, defamation, trade libel, unfair competition, and false description and
10 false representation, including Cal. Civ. Code § 44 et seq., Cal. Bus. & Prof. Code
11 § 17200 et seq., and Cal. Bus. & Prof. Code § 17500 et seq. This Court has
12 supplemental jurisdiction pursuant to 28 U.S.C. §§ 1338(b) and 1367(a) over the
13 asserted state law claims.
14         10.    This Court also has subject matter jurisdiction over this action
15 pursuant to 28 U.S.C. § 1332, as this action involves a controversy between
16 citizens of different states and an amount in controversy which exceeds the value
17 of $75,000, exclusive of interest and costs. X.Labs is organized under the laws of
18 Delaware and has its principal place of business in California. IPVM is organized
19 under the laws of Hawaii and has its principal place of business in Pennsylvania.
20         11.    This Court has personal jurisdiction over IPVM because IPVM has
21 committed acts of intentional interference with contractual relations, intentional
22 interference with prospective economic relations, negligent interference with
23 prospective economic relations, defamation, trade libel, unfair competition, and
24 false description and false representation in the Central District of California, and
25 otherwise has purposefully directed activities toward the Central District of
26 California that the asserted causes of action arise out of or relate to.
27         12.    Venue is proper in this District under 28 U.S.C. §§ 1391(a), (b), and
28 (c) in that a substantial part of the events or omissions giving rise to this action
     COMPLAINT                                   5
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 1 occurred in this District and for the same reasons alleged in the preceding
 2 paragraph as to why IPVM is subject to personal jurisdiction.
 3                                   BACKGROUND
 4         13.   There is an ongoing worldwide pandemic of COVID-19 caused by
 5 Severe Acute Respiratory Syndrome Coronavirus 2 (“SARS-CoV-2”). COVID-19
 6 is a highly infectious disease. There is currently no vaccine to prevent COVID-19.
 7 Nor is there currently any specific anti-viral treatment for COVID-19.
 8         14.   COVID-19 was first identified in December 2019 in Wuhan, Hubei
 9 Province, People’s Republic of China. On January 30, 2020, the World Health
10 Organization declared the COVID-19 outbreak to be a public health emergency of
11 international concern. On January 31, 2020, the U.S. Secretary of Health and
12 Human Services declared a public health emergency under Section 319 of the
13 Public Health Service Act, 42 U.S.C. § 247d, in response to COVID-19. On
14 March 11, 2020, the World Health Organization recognized the COVID-19
15 outbreak as a pandemic. On March 13, 2020, the U.S. President declared the
16 COVID-19 outbreak a national emergency as of March 1, 2020.
17         15.   As of May 3, 2020, there are 1,122,486 total confirmed cases of
18 COVID-19 resulting in 65,735 deaths in the U.S. See
19 https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
20         16.   COVID-19 affects different people in different ways. A wide range of
21 symptoms has been reported in individuals with COVID-19, ranging from no
22 symptoms or mild symptoms to severe illness and, in some cases, death. These
23 symptoms may appear 2-14 days after exposure to the virus. On average, it takes
24 5-6 days from infection with the virus for symptoms to show in an individual.
25         17.   Common symptoms of COVID-19 include fever, cough, and shortness
26 of breath or difficulty breathing. Initial screening measures for individuals with no
27 symptoms, i.e., asymptomatic individuals, have included measurements for
28 elevated body temperature.
     COMPLAINT                                  6
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 1                               THE FEEVR SYSTEM
 2         18.   On March 25, 2020, X.Labs launched its proprietary Feevr system.
 3         19.   The Feevr system is a proprietary AI-based rapid thermal screening
 4 system. See https://www.feevr.tech/. The Feevr system performs a preliminary
 5 scan to efficiently and effectively screen and detect individuals in a crowd with an
 6 elevated forehead skin temperature. The Feevr system includes an oral
 7 thermometer for secondary screening if the preliminary scan indicates that an
 8 individual has an elevated forehead skin temperature.
 9         20.   The Feevr system includes a proprietary AI-based mobile app
10 integrated into a smartphone connected to a thermal imaging camera, such as the
11 Flir One Pro camera. The thermal imaging camera acquires a thermal image. The
12 mobile app processes the thermal image using a proprietary AI-based face
13 detection algorithm to determine whether an individual’s forehead skin
14 temperature exceeds a predetermined input threshold. An elevated forehead skin
15 temperature is a possible indicator of COVID-19.
16         21.   The Feevr system is illustrated in the image below:
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     COMPLAINT                                 7
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15         22.   The thermal images acquired by the Feevr system may be illustrated
16 by the following exemplar, created by X.Labs:
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26         23.   In particular, the Feevr system detects the skin temperature of the
27 region of an individual’s forehead that has a direct correlation to the temporal
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     COMPLAINT                                  8
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 1 artery. To enhance accuracy, the Feevr system disregards other temperatures in the
 2 field of view. The average skin temperature range for the forehead is 90.5-95.2°F.
 3         24.   At this time, the Feevr system tends to function optimally in stable air
 4 temperatures, such as in an enclosed environment. Indeed, a number of variables
 5 can affect the accuracy of surface skin temperature measurement, including, but
 6 not limited to, indoor and outdoor air temperature, alcohol consumption, exercise,
 7 wind chill, and direct sunlight.
 8         25.   When the Feevr system detects an individual’s skin temperature as
 9 reaching or exceeding the input threshold, the system automatically displays a
10 visual alert and captures and stores a screenshot of the thermal image. In addition,
11 a rectangle around the face of the individual detected as having an elevated
12 forehead skin temperature will turn red. The default threshold skin temperature on
13 the Feevr system is 98.0°F. Under this default threshold, an individual with a
14 forehead skin temperature of 98.0°F or greater would be identified as having an
15 elevated forehead skin temperature, thus triggering the use of an oral thermometer
16 for secondary screening. The Feevr system can be used to manually capture a
17 screenshot of the thermal image, as well.
18         26.   Thus, the Feevr system enables the user to rapidly identify individuals
19 with an elevated forehead skin temperature from a distance and without making
20 direct body contact. The non-contact nature of the Feevr system and the distance
21 from which it can be used reduce the likelihood of cross-infection between the user
22 and individuals tested. Individuals identified as having an elevated forehead skin
23 temperature may be discreetly isolated for secondary screening and medical
24 examination.
25         27.   X.Labs’ “Disclaimer” webpage states as follows:
26               “Feevr is not a medical device and is not intended for any
27               diagnosis or clinical measurements. Feevr is only to be
28               used to perform a preliminary scan and is intended for
     COMPLAINT                                  9
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  1               screening individuals or monitoring an individual for
  2               potential elevated skin temperatures. It is not a substitute
  3               for a clinical thermometer. Always use a clinical
  4               thermometer as a secondary screening protocol when high
  5               accuracy body temperature measurements are required.”
  6 See https://www.feevr.tech/disclaimer (emphases added).
  7        28.    X.Labs’ “Disclaimer” webpage for the Feevr system additionally
  8 states as follows:
  9               “It should be noted that the usual 98.6-degree normal
 10               reading is for core body temperature, not skin temperature,
 11               which is usually considerably lower, rising and falling with
 12               the ambient temperature and ranges between 89.0 F –
 13               98.0F[.] Skin temperature depends on air temperature and
 14               time spent in that environment. The normal temperature of
 15               the skin is about 33 °C or 91 °F. . . . With Feevr, an
 16               average temperature is calculated by taking the
 17               temperature on 2 spots on the face, the inner eyelid and the
 18               forehead. This combined temperature gives the most
 19               accurate display of whether or not an elevated body
 20               temperature is present. The optimal use for the feevr
 21               device will be in a stable, room temperature, indoor
 22               environment and have the person being scanned, adjust to
 23               the stable environment, if entering from outside, before
 24               being scanned by the fever device. Environmental impacts
 25               such as direct sunlight, alcohol consumption and exercise
 26               does increase the skin temperature.”
 27 Id.
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      COMPLAINT                                  10
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  1        29.    At least as early as April 11, 2020, X.Labs published a document
  2 entitled “Visual Presentation of Temperature” on the Feevr system’s website
  3 (“VPOT Document”). A true and correct copy of the VPOT Document is attached
  4 as Exhibit 1 to this Complaint.
  5        30.    The VPOT Document sets forth tables of various skin temperatures,
  6 ranging from 90.5°F to 101.9°F in a “Fahrenheit (°F)” table and ranging from
  7 32.5°C to 38.8°C in a “Celsius (°C)” table, and their respective corresponding core
  8 temperatures. A copy of the first page of the VPOT Document, which contains
  9 these tables, is reproduced below:
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      COMPLAINT                                11
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  1         31.   The VPOT Document indicates whether each indicated skin
  2 temperature and corresponding core temperature is “[a]verage,” warrants
  3 “[c]aution,” is “[a]pproaching fever temperature,” or “[n]eeds additional
  4 screening.” The VPOT Document states that “92°F (33.3°C) reading on the skin
  5 of the forehead implies the individual is perfectly normal when it comes to their
  6 temperature and means the individual does not need additional screening.” The
  7 VPOT Document also states that a “[s]kin temperature below 90.5 is due to
  8 external factors,” which are identified as “includ[ing] but not limited to
  9 indoor/outdoor air temperature, alcohol consumption, exercise, wind chill, and/or
 10 direct sunlight.” The VPOT Document indicates that a skin temperature of or
 11 exceeding 96.8°F is “[a]pproaching fever temperature” and a skin temperature of
 12 or exceeding 98.4°F “[n]eeds additional screening.” Additionally, the VPOT
 13 Document prominently states that the Feevr system “should be used as a
 14 screening device to identify individuals that need further monitoring or medical
 15 testing to determine if they are sick or exhibiting a high fever and showing signs
 16 consistent with a virus.” (emphasis in original).
 17         32.   The VPOT Document cites an article entitled “Estimation of Mean
 18 Body Temperature from Mean Skin and Core Temperature” by Rainer Lenhardt,
 19 M.D. and Daniel I. Sessler, M.D., published in December 2006 in the academic
 20 journal “Anesthiology” and on the “Anesthesiology” website at https://
 21 anesthesiology.pubs.asahq.org/article.aspx?articleid=1931065, in support of the
 22 statement in the VPOT Document that “[t]he feevr unit measures the temperature
 23 of the skin on the forehead which is directly correlated to the core temperature,
 24 which typically is 3.6°F - 7.2°F (2.0°C - 4.0°C) higher than the skin temperature.”
 25 Also, the VPOT Document cites an article entitled “Body Temperature: What Is
 26 (and Isn’t) Normal?” by Cleveland Clinic, dated March 31, 2020 and published on
 27 the Cleveland Clinic website at https://health.clevelandclinic.org/body-
 28 temperature-what-is-and-isnt-normal/, in support of the statements in the VPOT
      COMPLAINT                                 12
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  1 Document that “[a]verage human body temperature is between 97.5°F - 99.5°F
  2 (36.4°C - 37.5°C)” and “[w]hen a person has a fever, their core temperature is
  3 elevated to 100.5°F (38.1°C)2 and higher.”
  4                                         IPVM
  5         33.   IPVM is a for-profit company that touts itself as “the world’s leading
  6 authority on video surveillance.” See https://ipvm.com/about. In its corporate
  7 filings, IPVM characterizes its business as a “Domestic Profit Corporation” formed
  8 for the purpose of “INTERNET VIDEO SURVEILLANCE INFORMATION
  9 SERVICES.” IPVM’s federally registered service mark for the word “IPVM” is
 10 indicated for the Goods and Services class of “[p]roviding a web site featuring
 11 technology that enables users to select and design video surveillance.” In addition,
 12 IPVM describes itself as “a team of 15 with extensive experience working for
 13 security integrators, organizations, and manufacturers,” with “dedicated specialists
 14 covering cameras, video analytics, VMS, IP networking, access control and more.”
 15 Id. In essence, IPVM’s focus is in the area of video surveillance and related areas
 16 within the security field. IPVM does not have any specialized knowledge, training,
 17 or experience with any thermal imaging system or any system for assessing skin or
 18 body temperature of a human being. With the possible exception of the Feevr
 19 system, IPVM has never tested or analyzed any thermal imaging system or any
 20 system for assessing skin or body temperature.
 21         34.   According to IPVM’s website, IPVM offers live online courses,
 22 where it teaches video surveillance and access control. IPVM markets its online
 23 courses as available worldwide, including in the United States and in the Central
 24 District of California. In furtherance of such marketing, IPVM represents that it
 25 provides and has provided over 750 certifications for individuals who pass its
 26 online courses, including individuals located in Los Angeles, California, Orange
 27 County, California, and other locations in the Central District of California.
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      COMPLAINT                                 13
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  1         35.   According to IPVM’s website, IPVM funds its work through its paid
  2 membership subscription service and has members across the world, including in
  3 the United States. IPVM claims that it has “10,000+” members worldwide.
  4 IPVM’s members include members located in the Central District of California.
  5         36.   IPVM’s website indicates that John Honovich (“Mr. Honovich”) is the
  6 founder and President of IPVM. According to IPVM’s website, Mr. Honovich
  7 leads a team of engineers who test, research, and analyze video surveillance and
  8 physical security markets.
  9         37.   On information and belief, Mr. Honovich participated in an interview,
 10 entitled “COVID-19 Series; The Truth on Fever Detecting Cameras w/ IPVM John
 11 Honovich,” that was posted on YouTube by ASR Enterprises on April 16, 2020
 12 (“April 16, 2020 Interview”). See https://www.youtube.com/watch?v=
 13 nDAsX7kdheE. In the April 16, 2020 Interview, Mr. Honovich stated as follows:
 14 “There’s not many things you do in video surveillance that is a medical decision.”
 15 With regard to U.S. Food and Drug Administration (“FDA”) 510(K) Clearances
 16 and 510(K) PMA, i.e., Premarket Approval, Mr. Honovich stated in the interview
 17 that “I’m—I’m not the expert on—on this subcategory.” Further, Mr. Honovich
 18 stated in the April 16, 2020 Interview that “virtually 99% of people, including us,
 19 we’re not experts in the subfield of radiometric thermal—uh, thermal
 20 thermography cameras to do fine-grain elevated body temperature capture.” Mr.
 21 Honovich also stated in the April 16, 2020 Interview that he is “not an expert in
 22 medicine” and “again, not an expert in—in medicine or basically measuring—all
 23 the different ways of measuring temperature.”
 24                         IPVM’S UNLAWFUL CONDUCT
 25         38.   On or about March 31, 2020, IPVM published an article by Ethan Ace
 26 on its website entitled “USA’s Feevr Thermal System Examined” (“March 31,
 27 2020 Article”). See https://ipvm.com/reports/feevr. A true and correct copy of the
 28 March 31, 2020 Article is attached as Exhibit 2 to this Complaint.
      COMPLAINT                                 14
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  1         39.   IPVM’s March 31, 2020 Article contains numerous false, misleading,
  2 disparaging, and deceptive statements regarding X.Labs and the Feevr system.
  3 IPVM asserts in the March 31, 2020 Article that it “spoke with the company
  4 [X.Labs] and examined its claims[,] including” “[t]echnical design,” “[l]ow
  5 pricing,” and “[a]ccuracy.” In the March 31, 2020 Article, IPVM repeatedly
  6 mischaracterizes X.Labs’ marketing and descriptions of its Feevr system as
  7 “misleading.”
  8         40.   IPVM asserts in the March 31, 2020 Article that the accuracy of the
  9 Feevr system is “only ±3°C (~5.4°F)” on the sole basis that “the FLIR One Pro
 10 specifies accuracy of only ±3°C (~5.4°F), a huge range for measuring body
 11 temperature.” In the same breath, IPVM mischaracterizes X.Labs’ description of
 12 the Feevr system’s accuracy as “one vague claim of being within 0.4°F (0.2°C) of
 13 an ‘FDA approved temperature gun.’” IPVM then misleadingly states that “most
 14 of the systems we have surveyed claim accuracy of ±0.3° C or lower, only about
 15 0.5° F” without identifying the systems that it refers to or demonstrating that those
 16 systems are appropriate for comparison to the Feevr system. IPVM later states in
 17 the March 31, 2020 Article that it is “particularly worried about how accurate this
 18 [the Feevr system] will be.”
 19         41.   In addition, IPVM claims in the March 31, 2020 Article that “false
 20 positives and negatives are highly likely” when using the Feevr system. In support
 21 of this misleading statement, IPVM states that “the forehead and face are highly
 22 susceptible to variations caused by environment and activities of the person being
 23 screened (e.g. exercising or consuming alcohol)” and references the allegedly
 24 “limited accuracy FLIR One Pro camera” used with the Feevr system. IPVM’s
 25 claims in this regard, however, omit to mention that the Feevr system’s website
 26 itself makes clear that a number of variables can affect the accuracy of surface skin
 27 temperature measurement and, accordingly, that the Feevr system operates
 28 optimally in an enclosed environment at this time. IPVM’s claims also deceptively
      COMPLAINT                                 15
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  1 omit to mention that the Feevr system is intended to screen and detect individuals
  2 with elevated forehead skin temperature for secondary screening and medical
  3 testing.
  4         42.   Moreover, IPVM asserts in the March 31, 2020 Article that “the script
  5 of one of Feevr’s marketing videos is mostly stolen from a FLIR post titled
  6 Thermal Imaging for Detecting Elevated Body Temperature.” (emphasis added).
  7 IPVM further states in an “update” to the March 31, 2020 Article, ostensibly
  8 published after the Article was initially posted, that X.Labs informed IPVM that it
  9 has an agreement with Flir and that Flir “responded, denying Feevr’s claims.” In
 10 support of these statements, IPVM misleadingly refers to a “FLIR SDK License
 11 Agreement” that contains no mention of X.Labs or the Feevr system. In yet
 12 another “update,” the March 13, 2020 Article acknowledges X.Labs’ statement that
 13 “Feevr doesn’t use the FLIR SDK. Feevr uses it[]s own custom app with a FLIR
 14 camera.” IPVM, however, has not removed any references to the “FLIR SDK
 15 License Agreement” from the March 31, 2020 Article.
 16         43.   In connection with publishing the March 31, 2020 Article, IPVM
 17 declined X.Labs’ offer to provide a unit of its Feevr system to IPVM for analysis
 18 and did not even request any technical documentation from X.Labs regarding the
 19 Feevr system. In furtherance of its misleading narrative, IPVM omitted to mention
 20 either of these facts in its March 31, 2020 Article. Instead, IPVM selectively uses
 21 “Feevr’s own demonstration videos,” from which it concludes that the Feevr
 22 system “does not appear to work consistently, with some subjects not properly
 23 detected until they are nearly out of the scene.” On information and belief, IPVM
 24 did not obtain a unit of the Feevr system in connection with its underlying analysis
 25 or testing of the Feevr system for the March 31, 2020 Article and did not obtain
 26 any units of the Feevr system in connection with any of the IPVM Articles.
 27         44.   Additionally, in the March 31, 2020 Article, IPVM identifies various
 28 statements regarding COVID-19 on the Feevr system’s website and immediately
      COMPLAINT                                 16
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  1 states “[b]ut no screening system can detect coronavirus, regardless of what is
  2 claimed.” IPVM’s assertions in this regard imply that the Feevr system is in fact
  3 intended to “detect coronavirus” and that, because the Feevr system does not do so,
  4 it must be defective. The Feevr system, however, is in actuality a screening device
  5 for detecting and identifying individuals with elevated forehead skin temperatures
  6 for secondary screening and medical examination.
  7         45.   As of the filing of this Complaint, the March 31, 2020 Article remains
  8 available to the public on IPVM’s website and IPVM has not retracted or
  9 disavowed the March 31, 2020 Article. An IPVM subscription is not required to
 10 access the March 31, 2020 Article.
 11         46.   On or about April 14, 2020, IPVM published an article on its website
 12 by John Honovich entitled “Beware Of Feevr” (“April 14, 2020 Article”). See
 13 https://ipvm.com/reports/feevr2. On information and belief, the VPOT Document
 14 was available to IPVM as of IPVM’s publication of the April 14, 2020 Article. A
 15 true and correct copy of the April 14, 2020 Article is attached as Exhibit 3 to this
 16 Complaint.
 17         47.   The April 14, 2020 Article begins by stating “Beware of ‘Feevr.’” In
 18 conjunction with this ominous narrative, IPVM includes an image depicting the
 19 Feevr system next to X.Labs’ Founder and Chief Executive Officer (“CEO”),
 20 Barry Oberholzer (“Mr. Oberholzer”), with a large “BEWARE” warning sign
 21 stamped prominently across the image of the Feevr system at the beginning of the
 22 April 14, 2020 Article. A copy of the image is reproduced below:
 23
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 26
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      COMPLAINT                                 17
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 11         48.   IPVM falsely asserts in the April 14, 2020 Article that the Feevr
 12 system “fundamentally lacks accuracy for its use, as its thermal provider FLIR
 13 has said and IPVM testing has shown.” (emphasis added). The April 14, 2020
 14 Article also repeatedly claims that IPVM requested information about the Feevr
 15 system and that X.Labs did not provide such information. This is misleading. As
 16 with the March 31, 2020 Article, IPVM omits to mention in the April 14, 2020
 17 Article that it declined X.Labs’ offer to provide a unit of its Feevr system to IPVM
 18 for analysis and did not even request any technical documentation from X.Labs
 19 regarding the Feevr system. In addition, IPVM has provided no corroboration of
 20 its claimed testing. On information and belief, IPVM did not obtain a unit of the
 21 Feevr system in connection with its underlying analysis or testing of the Feevr
 22 system for the April 14, 2020 Article.
 23         49.   In the April 14, 2020 Article, IPVM continues the false and
 24 disparaging narrative that the Feevr system “pose[s] risks to the public.” IPVM
 25 proclaims therein that “Feevr has no FDA approval for this device” and that “[t]he
 26 CEO of Feevr’s ‘premier US distributor’ admitted the lack of approval.” (emphasis
 27 added). In addition, IPVM deceptively states in the April 14, 2020 Article that
 28 “[t]he thermal sensor they are using is not specified nor recommended by their
      COMPLAINT                                 18
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  1 provider for such a ‘feevr’ application” and that “Feevr cannot address this.” By
  2 these misleading statements, IPVM implies that the Feevr system is intended to be
  3 used for purposes requiring FDA approval. However, IPVM omits to mention that
  4 the Feevr system’s technical specification itself affirmatively states that the Feevr
  5 system is not FDA approved. As IPVM also omits to mention, the Feevr system is
  6 to be used for detecting and identifying individuals with elevated forehead skin
  7 temperatures for secondary screening and medical testing.
  8         50.   IPVM falsely claims in the April 14, 2020 Article that the FLIR One
  9 Pro used with the Feevr system “perform[s] inaccurately for human temperature
 10 detection” and “is 10x less accurate than” FDA approved thermal guns. Further,
 11 IPVM quotes a FLIR spokesperson as “not recommend[ing] the FLIR One Pro . . .
 12 device[] for this use case,” without identifying what the “use case” is or providing
 13 any other context for the subject quote. Thereafter, on April 21, 2020, IPVM’s
 14 Ethan Ace posted a follow-up comment on the April 14, 2020 Article that
 15 “[f]undamentally, Feevr also does not explain or justify how they are using a
 16 sensor which FLIR themselves has said is not accurate enough for thermal
 17 screening (±3°C) and getting accurate results.”
 18         51.   Moreover, IPVM mischaracterizes examples of the Feevr system’s
 19 imaging results as exhibiting an “alarming” “sharp divergence in temperatures,”
 20 showing people “evidently dying of hypothermia or inaccuracy in measurement,”
 21 and “typical for Feevr’s demos.” In furtherance of these mischaracterizations,
 22 IPVM misleadingly describes the accuracy of the Feevr system as “nowhere close
 23 enough to the precision needed to determine the fine differences between ‘normal’
 24 body temperatures ~98°F and ‘fevers’ at ~100°F.” IPVM’s misleading and
 25 deceptive statements, however, fail to take into account that the Feevr system
 26 detects skin temperature rather than internal body temperature, and that a number
 27 of variables could impact the accuracy of surface skin measurement.
 28
      COMPLAINT                                  19
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  1         52.   Additionally, IPVM personally attacks and disparages X.Labs’
  2 Founder and CEO, Barry Oberholzer, in the April 14, 2020 Article through
  3 improper, irrelevant, false, misleading, and deceptive statements regarding prior
  4 allegations and charges against Mr. Oberholzer that have since been dropped.
  5 IPVM was aware that the allegations and charges had been dropped at the time that
  6 it published the April 14, 2020 Article. In fact, IPVM included an excerpt of an e-
  7 mail from Mr. Oberholzer to IPVM in the April 14, 2020 Article, with the e-mail
  8 excerpt stating that “these charges were dropped and were a result of improper
  9 representation due to the nature of my career with the government at the time.”
 10 IPVM’s personal attacks and disparagements towards Mr. Oberholzer have harmed
 11 Mr. Oberholzer’s reputation and have also further harmed the business, reputation,
 12 and goodwill of X. Labs.
 13         53.   On or about April 21, 2020 or April 22, 2020, IPVM’s Ethan Ace
 14 added a comment to the April 14, 2020 Article that cited the VPOT Document.
 15 This comment misleadingly characterized the VPOT Document as a “‘justification’
 16 of their [X.Labs’] visual temperature display” to “justify the delta” “between
 17 forehead skin temperature and core body temperature.” The comment further
 18 misleadingly and deceptively stated that “[f]undamentally, Feevr also does not
 19 explain or justify how they are using a sensor which FLIR themselves has said is
 20 not accurate enough for thermal screening (±3°C) and getting accurate results.”
 21         54.   As of the filing of this Complaint, the April 14, 2020 Article remains
 22 available to the public on IPVM’s website and IPVM has not retracted or
 23 disavowed the April 14, 2020 Article. An IPVM subscription is not required to
 24 access the April 14, 2020 Article.
 25         55.   On or about April 17, 2020, IPVM published an article by Charles
 26 Rollet on its website entitled “FDA ‘Does Not Intend to Object’ To Unapproved
 27 Fever Detection Cameras” (“April 17, 2020 Article”). See https://ipvm.com/
 28 reports/fda-new. On information and belief, the VPOT Document was available to
      COMPLAINT                                 20
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  1 IPVM as of IPVM’s publication of the April 17, 2020 Article. A true and correct
  2 copy of the April 17, 2020 Article is attached as Exhibit 4 to this Complaint.
  3         56.   At the beginning of the April 17, 2020 Article, IPVM states that the
  4 “FDA has declared it will not go after the many companies marketing unapproved
  5 fever detection cameras during the coronavirus public health emergency, even
  6 though it does consider these products medical devices.” IPVM smears X.Labs in
  7 the April 17, 2020 Article by identifying it as one of the “Dubious Companies” that
  8 the FDA has “Rewarded.”
  9         57.   In addition, in the April 17, 2020 Article, IPVM sets forth a list of
 10 purported “Problems” with the Feevr system without disclosing that IPVM
 11 declined X.Labs’ offer to provide a unit of its Feevr system to IPVM for analysis
 12 and did not even request any technical documentation from X.Labs regarding the
 13 Feevr system. On information and belief, IPVM did not obtain a unit of the Feevr
 14 system in connection with its underlying analysis or testing of the Feevr system for
 15 the April 17, 2020 Article. IPVM falsely and misleadingly states in the Article that
 16 “Feevr is also using the wrong kind of camera and when IPVM reported this, they
 17 threatened legal action and made false allegations against us.” In addition, IPVM
 18 asserts that “[t]he fact that the FDA has (temporarily) given carte blanche to these
 19 unregulated products is a big boost for such firms. But it presents a risk to the
 20 public, since often these companies are totally new entrants to the thermal field
 21 and do not offer the right kind of camera, setup advice, etc.” (emphasis added).
 22 Here, IPVM provides no justification of its generalizations and, thus,
 23 mischaracterizations of the Feevr system. In continuance of this misleading
 24 narrative, IPVM states in the April 17, 2020 Article that the FDA’s decision not to
 25 pursue companies marketing unapproved fever detection cameras “could lead to
 26 many false positives/negatives and poor implementation,” thereby deceptively
 27 implying that the Feevr system provides false positives and negatives and is poorly
 28 implemented.
      COMPLAINT                                 21
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  1         58.   As of the filing of this Complaint, the April 17, 2020 Article remains
  2 available to the public on IPVM’s website and IPVM has not retracted or
  3 disavowed the April 17, 2020 Article. An IPVM subscription is not required to
  4 access the April 17, 2020 Article.
  5         59.   Since the publication of the IPVM Articles, numerous customers of
  6 the Feevr system have terminated or suspended their sales agreements with X.Labs
  7 for its Feevr system and cited the IPVM Articles in doing so. On information and
  8 belief, X.Labs’ prospective customers have similarly severed their business
  9 relationships with X.Labs and will not be entering into contracts to purchase
 10 X.Labs’ Feevr system due to the IPVM Articles. In addition, IPVM’s false,
 11 misleading, disparaging, and deceptive statements caused X.Labs’ supplier, Flir, to
 12 suspend its agreement with X.Labs for a period of time. As a result, IPVM’s
 13 Articles have directly caused significant harm to X.Labs’ business reputation,
 14 goodwill, and integrity and significant loss of sales and potential sales of X.Labs’
 15 Feevr system in an amount to be determined at trial. On information and belief,
 16 IPVM’s purpose in publishing the March 31, 2020 Article, April 14, 2020 Article,
 17 and April 17, 2020 Article was to disrupt X.Labs’ contracts, contractual relations,
 18 and prospective contractual relationships.
 19         60.   On April 22, 2020, counsel for X.Labs sent a letter to IPVM’s John
 20 Honovich (“April 22, 2020 Letter”), demanding that IPVM promptly confirm in
 21 writing that it has ceased and desisted writing or publishing any articles containing
 22 false, misleading, deceptive, or defamatory statements about X.Labs or its Feevr
 23 system; issue a public retraction of the IPVM Articles that explicitly acknowledges
 24 the falsehoods, deceptions, and defamations contained therein; provide all
 25 information, including any documentation, regarding any tests or analyses that
 26 IPVM or any entity on IPVM’s behalf has done on the Feevr system; identify
 27 IPVM’s credentials and experience that it believes qualifies it to reliably and
 28 accurately test and evaluate the Feevr system; explain IPVM’s failure to acquire
      COMPLAINT                                  22
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  1 and use the Feevr system in connection with any testing or assessment of the Feevr
  2 system; identify Ethan Ace, Charles Rollet, and John Honovich’s credentials and
  3 experience, if any, which qualify them to review the Feevr system; and provide a
  4 complete and accurate written accounting of the identities and the number of
  5 individuals and businesses that have accessed any of the IPVM Articles, among
  6 other demands. A true and correct copy of the April 22, 2020 Letter is attached as
  7 Exhibit 5 to this Complaint.
  8         61.    As of the filing of this Complaint, IPVM has failed to perform any of
  9 the demands set forth in X.Labs’ April 22, 2020 Letter. IPVM has refused to
 10 retract and disavow the IPVM Articles. Further, IPVM has failed to provide any
 11 corroboration of its alleged testing of the Feevr system. In addition, IPVM has
 12 failed to identify any credentials and/or experience that could qualify it to test and
 13 evaluate the Feevr system, whether as to Ethan Ace, Charles Rollet, and John
 14 Honovich or otherwise. And, IPVM has failed to explain its failure to acquire and
 15 use the Feevr system, particularly in light of X.Labs’ offer to provide a unit of its
 16 system, in connection with any testing or assessment of the Feevr system.
 17         62.    Meanwhile, the IPVM Articles have caused and continue to cause
 18 great and irreparable harm to X.Labs’ business reputation, goodwill, and integrity
 19 and to sales of the Feevr system.
 20                             FIRST CLAIM FOR RELIEF
 21                 Intentional Interference with Contractual Relations
 22         63.    X.Labs repeats and realleges the allegations of the foregoing
 23 Paragraphs 1 through 62, as if fully set forth herein.
 24         64.    X.Labs possesses and possessed valid contracts with various
 25 customers, including Fortune 500 customers, to provide the Feevr system. X.Labs
 26 also has supplier contracts, notably with Flir.
 27         65.    IPVM is and, at all material times, has been aware of the existence of
 28 these contracts. For example, IPVM states in the April 14, 2020 Article: “we
      COMPLAINT                                  23
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  1 believe Feevr and SDS that they are selling a lot of these devices [Feevr system]
  2 right now.” In addition, IPVM states in the March 31, 2020 Article “[t]he Feevr
  3 thermal screening system consists of FLIR One Pro camera” and refers in the April
  4 14, 2020 Article to X.Labs’ “thermal provider FLIR.”
  5         66.    IPVM engaged in conduct that was calculated to disrupt X.Labs’
  6 contractual relations and rights under those contracts and achieved those ends. In
  7 doing so, IPVM has prevented X.Labs from realizing the benefits of these
  8 contractual relationships. To achieve those ends, IPVM has, among other things,
  9 published false, misleading, and deceptive statements about X.Labs’ Feevr system
 10 in the IPVM Articles. On information and belief, IPVM’s purpose in publishing
 11 the IPVM Articles and the false, misleading, deceptive statements contained
 12 therein was and is to disrupt these contracts. For example, the March 31, 2020
 13 Article states: “[w]e are particularly worried about how accurate this [Feevr
 14 system] will be and how misleading much of their [X.Labs’] marketing is.” In
 15 addition, the April 14, 2020 Article is entitled “Beware of Feevr” and begins with
 16 the statement “Beware of ‘Feevr,’” followed by an image depicting the Feevr
 17 system next to X.Labs’ Founder and CEO, Barry Oberholzer, with a large
 18 “BEWARE” warning sign stamped across the image of the Feevr system. In
 19 addition, IPVM states in the April 14, 2020 Article: “if despite the issues raised by
 20 their thermal provider FLIR and the lack of FDA approval, customers want to use
 21 such a device for ‘fever detection’, so be it, but this does pose risks to the public
 22 who may depend on this to avoid being infected in this ongoing crisis.” Further,
 23 the April 17, 2020 Article claims that there are “[p]roblems” with the Feevr system
 24 and states that “these unregulated products” “present[] a risk to the public.”
 25         67.    As a result of IPVM’s intentional interference with X.Labs’ contracts,
 26 X.Labs has been harmed and suffered damages in an amount to be proven at trial,
 27 including, but not limited to, the revenue and profits that X.Labs would have made
 28 but for IPVM’s interference. Indeed, numerous X.Labs customers have terminated
      COMPLAINT                                   24
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  1 or suspended their sales agreements for the Feevr system and cited the IPVM
  2 Articles in doing so. IPVM’s false, misleading, disparaging, and deceptive
  3 statements also caused X.Labs’ supplier, Flir, to suspend its agreement with
  4 X.Labs for a period of time.
  5         68.   IPVM’s acts were undertaken intentionally and in conscious disregard
  6 of X.Labs’ rights. In addition, IPVM’s acts were malicious, oppressive, and/or
  7 fraudulent. Therefore, X.Labs should be awarded punitive and exemplary damages
  8 sufficient to punish IPVM and to deter similar conduct in the future.
  9         69.   IPVM’s conduct indicates that it has no intention to stop harassing
 10 X.Labs, and, unless restrained, will not do so, to X.Labs’ great and irreparable
 11 injury, for which damages would not afford adequate relief, in that they would not
 12 completely compensate for the injury to X.Labs’ business reputation, goodwill, and
 13 integrity amongst its customers.
 14                           SECOND CLAIM FOR RELIEF
 15           Intentional Interference with Prospective Economic Relations
 16         70.   X.Labs repeats and realleges the allegations of the foregoing
 17 Paragraphs 1 through 69, as if fully set forth herein.
 18         71.   Before IPVM’s smear campaign, X.Labs was actively developing
 19 business relationships to provide the Feevr system to potential customers. These
 20 business relationships would likely have resulted in significant sales by X.Labs of
 21 its Feevr system.
 22         72.   IPVM is and, at all material times, has been aware of the existence of
 23 X.Labs’ prospective contractual relationships. Indeed, IPVM would not have
 24 published the IPVM Articles had it been unaware of these prospective contractual
 25 relationships. On information and belief, IPVM’s purpose in publishing the IPVM
 26 Articles and the false, misleading, deceptive statements contained therein was and
 27 is to disrupt these prospective contractual relationships. For example, the March
 28 31, 2020 Article states: “[w]e are particularly worried about how accurate this
      COMPLAINT                                 25
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  1 [Feevr system] will be and how misleading much of their [X.Labs’] marketing is.”
  2 In addition, the April 14, 2020 Article is entitled “Beware of Feevr” and begins
  3 with the statement “Beware of ‘Feevr,’” followed by an image depicting the Feevr
  4 system next to X.Labs’ Founder and CEO, Barry Oberholzer, with a large
  5 “BEWARE” warning sign stamped across the image of the Feevr system. In
  6 addition, IPVM states in the April 14, 2020 Article: “if despite the issues raised by
  7 their thermal provider FLIR and the lack of FDA approval, customers want to use
  8 such a device for ‘fever detection’, so be it, but this does pose risks to the public
  9 who may depend on this to avoid being infected in this ongoing crisis.” Further,
 10 the April 17, 2020 Article claims that there are “[p]roblems” with the Feevr system
 11 and states that “these unregulated products” “present[] a risk to the public.”
 12         73.    IPVM falsely, misleadingly, and deceptively represented to potential
 13 X.Labs customers that the Feevr system is inaccurate and poses risks to the public,
 14 even though IPVM knew that it had failed to acquire a unit of the Feevr system for
 15 analysis when offered by X.Labs and that it had failed to request any technical
 16 documentation from X.Labs regarding the Feevr system. In addition, IPVM made
 17 these false, misleading, and deceptive representations even though it knew that it
 18 was not qualified to reliably and accurately test, evaluate, and review the Feevr
 19 system. Indeed, IPVM’s self-described focus is on video surveillance and security.
 20         74.    IPVM’s representations were calculated to disrupt X.Labs’ ongoing
 21 business negotiations with prospective customers. IPVM published the IPVM
 22 Articles with the intent to induce potential X.Labs customers to sever their
 23 business relationships with X.Labs and ensure that they did not enter into contracts
 24 to purchase X.Labs’ Feevr system.
 25         75.    X.Labs is informed and believes that, because of IPVM’s false,
 26 misleading, and deceptive representations to potential X.Labs customers, those
 27 potential customers severed their business relationships with X.Labs and will not
 28 be entering into contracts to purchase X.Labs’ Feevr system.
      COMPLAINT                                  26
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  1         76.     As a result of IPVM’s intentional interference with X.Labs’
  2 prospective economic relations, X.Labs has been harmed and suffered damages in
  3 an amount to be proven at trial. Because of IPVM’s intentional acts, X.Labs will
  4 not realize the revenue and profits—and the concomitant value of further
  5 developing the customer relationships with which IPVM’s conduct has
  6 interfered—from these prospective business relationships that it would have
  7 realized, but for IPVM’s conduct described herein. Indeed, numerous X.Labs
  8 customers have terminated or suspended their sales agreements for the Feevr
  9 system and cited the IPVM Articles in doing so. On information and belief,
 10 X.Labs’ prospective customers have similarly severed their business relationships
 11 with X.Labs and will not be entering into contracts to purchase X.Labs’ Feevr
 12 system due to the IPVM Articles.
 13         77.     IPVM’s acts were undertaken intentionally and in conscious disregard
 14 of X.Labs’ rights to compete fairly in the marketplace. In addition, IPVM’s acts
 15 were malicious, oppressive, and/or fraudulent. Therefore, X.Labs should be
 16 awarded punitive and exemplary damages sufficient to punish IPVM and to deter
 17 similar conduct in the future.
 18         78.     IPVM’s conduct indicates that it has no intention to stop harassing
 19 X.Labs, and, unless restrained, will not do so, to X.Labs’ great and irreparable
 20 injury, for which damages would not afford adequate relief, in that they would not
 21 completely compensate for the injury to X.Labs’ business reputation, goodwill, and
 22 integrity amongst its customers and prospective customers.
 23                             THIRD CLAIM FOR RELIEF
 24               Negligent Interference with Prospective Economic Relations
 25         79.     X.Labs repeats and realleges the allegations of the foregoing
 26 Paragraphs 1 through 78, as if fully set forth herein.
 27         80.     Before IPVM’s smear campaign, X.Labs was actively developing
 28 business relationships to provide the Feevr system to potential customers. These
      COMPLAINT                                  27
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  1 business relationships would likely have resulted in significant sales by X.Labs of
  2 its Feevr system.
  3         81.    IPVM is and, at all material times, has been aware of the existence of
  4 X.Labs’ prospective contractual relationships. Indeed, IPVM would not have
  5 published the IPVM Articles had it been unaware of these prospective contractual
  6 relationships. On information and belief, IPVM’s purpose in publishing the IPVM
  7 Articles and the false, misleading, deceptive statements contained therein was and
  8 is to disrupt these prospective contractual relationships. For example, the March
  9 31, 2020 Article states: “[w]e are particularly worried about how accurate this
 10 [Feevr system] will be and how misleading much of their [X.Labs’] marketing is.”
 11 In addition, the April 14, 2020 Article is entitled “Beware of Feevr” and begins
 12 with the statement “Beware of ‘Feevr,’” followed by an image depicting the Feevr
 13 system next to X.Labs’ Founder and CEO, Barry Oberholzer, with a large
 14 “BEWARE” warning sign stamped across the image of the Feevr system. In
 15 addition, IPVM states in the April 14, 2020 Article: “if despite the issues raised by
 16 their thermal provider FLIR and the lack of FDA approval, customers want to use
 17 such a device for ‘fever detection’, so be it, but this does pose risks to the public
 18 who may depend on this to avoid being infected in this ongoing crisis.” Further,
 19 the April 17, 2020 Article claims that there are “[p]roblems” with the Feevr system
 20 and states that “these unregulated products” “present[] a risk to the public.”
 21         82.    IPVM falsely, misleadingly, and deceptively represented to potential
 22 X.Labs customers that the Feevr system is inaccurate and poses risks to the public,
 23 even though IPVM knew that it had failed to acquire a unit of the Feevr system for
 24 analysis when offered by X.Labs and that it had failed to request any technical
 25 documentation from X.Labs regarding the Feevr system. In addition, IPVM made
 26 these false, misleading, and deceptive representations even though it knew that it
 27 was not qualified to reliably and accurately test, evaluate, and review the Feevr
 28 system. Indeed, IPVM’s self-described focus is on video surveillance and security.
      COMPLAINT                                   28
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  1         83.   IPVM knew or should have known that its false, misleading, and
  2 deceptive statements would disrupt X.Labs’ ongoing business negotiations with
  3 prospective customers if IPVM failed to act with reasonable care. Nevertheless,
  4 IPVM published the IPVM Articles and the false, misleading, and deceptive
  5 statements contained therein even though it knew or should have known that doing
  6 so would induce potential X.Labs customers to sever their business relationships
  7 with X.Labs and ensure that they did not enter into contracts to purchase X.Labs’
  8 Feevr system.
  9         84.   X.Labs is informed and believes that, because of IPVM’s false,
 10 misleading, and deceptive representations to potential X.Labs customers, those
 11 potential customers severed their business relationships with X.Labs and will not
 12 be entering into contracts to purchase X.Labs’ Feevr system.
 13         85.   As a result of IPVM’s interference with X.Labs’ prospective
 14 economic relations, X.Labs has been harmed and suffered damages in an amount
 15 to be proven at trial. Because of IPVM’s acts, X.Labs will not realize the revenue
 16 and profits—and the concomitant value of further developing the customer
 17 relationships with which IPVM’s conduct has interfered—from these prospective
 18 business relationships that it would have realized, but for IPVM’s conduct
 19 described herein. Indeed, numerous X.Labs customers have terminated or
 20 suspended their sales agreements for the Feevr system and cited the IPVM Articles
 21 in doing so. On information and belief, X.Labs’ prospective customers have
 22 similarly severed their business relationships with X.Labs and will not be entering
 23 into contracts to purchase X.Labs’ Feevr system due to the IPVM Articles.
 24         86.   IPVM’s conduct indicates that it has no intention to stop harassing
 25 X.Labs, and, unless restrained, will not do so, to X.Labs’ great and irreparable
 26 injury, for which damages would not afford adequate relief, in that they would not
 27 completely compensate for the injury to X.Labs’ business reputation, goodwill, and
 28 integrity amongst its customers and prospective customers.
      COMPLAINT                                 29
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  1                           FOURTH CLAIM FOR RELIEF
  2                        Defamation, Cal. Civ. Code § 44 et seq.
  3         87.   X.Labs repeats and realleges the allegations of the foregoing
  4 Paragraphs 1 through 86, as if fully set forth herein.
  5         88.   IPVM made false, misleading, deceptive, disparaging, and defamatory
  6 statements in the IPVM Articles that the Feevr system is inaccurate and poses risks
  7 to the public and that X.Labs’ marketing of the Feevr system is misleading. For
  8 example, the March 31, 2020 Article states: “[w]e are particularly worried about
  9 how accurate this [Feevr system] will be and how misleading much of their
 10 [X.Labs’] marketing is.” In addition, the April 14, 2020 Article is entitled
 11 “Beware of Feevr” and begins with the statement “Beware of ‘Feevr,’” followed
 12 by an image depicting the Feevr system next to X.Labs’ Founder and CEO, Barry
 13 Oberholzer, with a large “BEWARE” warning sign stamped across the image of
 14 the Feevr system. IPVM also states in the April 14, 2020 Article: “if despite the
 15 issues raised by their thermal provider FLIR and the lack of FDA approval,
 16 customers want to use such a device for ‘fever detection’, so be it, but this does
 17 pose risks to the public who may depend on this to avoid being infected in this
 18 ongoing crisis.” Moreover, IPVM makes improper, irrelevant, false, misleading,
 19 disparaging, and deceptive statements in the April 14, 2020 Article regarding prior
 20 allegations and charges against X.Labs’ Founder and CEO that have since been
 21 dropped. Further, the April 17, 2020 Article claims that there are “[p]roblems”
 22 with the Feevr system and states that “these unregulated products” “present[] a risk
 23 to the public.”
 24         89.   IPVM made these false, misleading, deceptive, disparaging, and
 25 defamatory statements to the public and IPVM’s “10,000+” members worldwide,
 26 including X.Labs’ customers and potential customers and suppliers. The IPVM
 27 Articles are available to the public and to every single one of IPVM’s claimed
 28
      COMPLAINT                                 30
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  1 “10,000+” members worldwide. The IPVM Articles are thus published to X.Labs’
  2 customers and potential customers, as well as to X. Labs’ suppliers.
  3         90.   On information and belief, X.Labs’ customers and potential customers
  4 and suppliers reasonably understood that IPVM’s statements were about X.Labs
  5 and its Feevr system because X.Labs and the Feevr system were the expressly
  6 identified subjects of the IPVM Articles.
  7         91.   On information and belief, X.Labs’ customers and potential customers
  8 and suppliers reasonably understood IPVM’s statements to mean that the Feevr
  9 system allegedly is inaccurate, has poor quality, and poses risks to the public, and
 10 that X.Labs’ marketing of the Feevr system is allegedly misleading. These
 11 statements have induced various X.Labs customers to terminate or suspend their
 12 sales agreements for the Feevr system and cite the IPVM Articles in doing so, and,
 13 on information and belief, induced potential X.Labs customers to sever their
 14 business relationships with X.Labs and not enter into contracts to purchase X.Labs’
 15 Feevr system. Such statements also caused X.Labs’ supplier, Flir, to suspend its
 16 agreement with X.Labs for a period of time.
 17         92.   The false and defamatory statements published by IPVM in the IPVM
 18 Articles are unprivileged.
 19         93.   IPVM failed to use reasonable care to determine the truth or falsity of
 20 its statements. Rather, IPVM knew that these statements were false, misleading,
 21 deceptive, and defamatory and acted with reckless disregard of the truth or falsity
 22 of these statements. On information and belief, IPVM knew that it was not
 23 qualified to reliably and accurately test, evaluate, and review the Feevr system
 24 when it made and published these statements in the IPVM Articles. IPVM was
 25 also aware that the allegations and charges against X.Labs’ Founder and CEO had
 26 been dropped at the time that it published the April 14, 2020 Article.
 27         94.   IPVM’s statements caused X.Labs to suffer significant lost sales
 28 revenue and profits from existing and prospective customers and injury to X.Labs’
      COMPLAINT                                 31
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  1 business reputation, goodwill, and integrity amongst its customers and prospective
  2 customers and suppliers. These losses and injuries were the natural and probable
  3 result of IPVM’s publication of the IPVM Articles and false, misleading,
  4 deceptive, and defamatory statements contained therein. IPVM’s statements have
  5 a natural tendency to injure and are per se defamatory because they harm X.Labs’
  6 sales and business reputation.
  7         95.   IPVM’s acts to disparage X.Labs and its Feevr system and its
  8 publication of provably false, misleading, deceptive, and defamatory statements
  9 were undertaken maliciously, intentionally, and in conscious disregard of X.Labs’
 10 rights. Therefore, X.Labs should be awarded punitive damages sufficient to punish
 11 IPVM and to deter similar conduct in the future.
 12                            FIFTH CLAIM FOR RELIEF
 13                                      Trade Libel
 14         96.   X.Labs repeats and realleges the allegations of the foregoing
 15 Paragraphs 1 through 95, as if fully set forth herein.
 16         97.   IPVM made statements in the IPVM Articles that would be clearly or
 17 necessarily understood to disparage the quality, characteristics, and performance
 18 of the Feevr system and imply the provably false, misleading, deceptive,
 19 disparaging, and defamatory statements that the Feevr system is inaccurate and
 20 poses risks to the public and that X.Labs’ marketing of the Feevr system is
 21 misleading. For example, the March 31, 2020 Article states: “[w]e are particularly
 22 worried about how accurate this [Feevr system] will be and how misleading much
 23 of their [X.Labs’] marketing is.” In addition, the April 14, 2020 Article is entitled
 24 “Beware of Feevr” and begins with the statement “Beware of ‘Feevr,’” followed
 25 by an image depicting the Feevr system next to X.Labs’ Founder and CEO, Barry
 26 Oberholzer, with a large “BEWARE” warning sign stamped across the image of
 27 the Feevr system. IPVM also states in the April 14, 2020 Article: “if despite the
 28 issues raised by their thermal provider FLIR and the lack of FDA approval,
      COMPLAINT                                 32
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  1 customers want to use such a device for ‘fever detection’, so be it, but this does
  2 pose risks to the public who may depend on this to avoid being infected in this
  3 ongoing crisis.” Further, the April 17, 2020 Article claims that there are
  4 “[p]roblems” with the Feevr system and states that “these unregulated products”
  5 “present[] a risk to the public.”
  6         98.   IPVM made these false, misleading, deceptive, and defamatory
  7 statements to the public and IPVM’s “10,000+” members worldwide, including
  8 X.Labs’ customers and potential customers and suppliers. The IPVM Articles are
  9 available to the public and to every single one of IPVM’s claimed “10,000+”
 10 members worldwide. The IPVM Articles are thus published to X.Labs’ customers
 11 and potential customers, as well as to its suppliers.
 12         99.   IPVM’s statements in the IPVM Articles that the Feevr system is
 13 allegedly inaccurate and poses risks to the public and that X.Labs’ marketing of the
 14 Feevr system is allegedly misleading are provably false, misleading, deceptive,
 15 disparaging, and defamatory.
 16         100. IPVM’s false, misleading, deceptive, disparaging, and defamatory
 17 statements published in the IPVM Articles are unprivileged.
 18         101. IPVM knew that these statements were false, misleading, deceptive,
 19 disparaging, and defamatory and acted with reckless disregard of the truth or
 20 falsity of these statements. On information and belief, IPVM knew that it was not
 21 qualified to reliably and accurately test, evaluate, and review the Feevr system
 22 when it made and published these statements in the IPVM Articles.
 23         102. IPVM knew or should have recognized that X.Labs’ customers and
 24 potential customers and suppliers have relied and will continue to rely on the false,
 25 misleading, deceptive, and defamatory statements published in the IPVM Articles,
 26 resulting in financial loss to X.Labs. IPVM’s false, misleading, deceptive, and
 27 defamatory statements in the IPVM Articles have a natural tendency to injure and
 28
      COMPLAINT                                 33
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  1 are per se defamatory because these statements harm X.Labs’ business reputation,
  2 goodwill, and integrity.
  3         103. IPVM’s false, misleading, deceptive, disparaging, and defamatory
  4 statements have caused direct financial harm to X.Labs. These statements have
  5 induced numerous X.Labs customers to terminate or suspend their sales
  6 agreements for the Feevr system, citing the IPVM Articles in doing so, and, on
  7 information and belief, induced potential X.Labs customers to sever their business
  8 relationships with X.Labs and avoid entering into contracts to purchase X.Labs’
  9 Feevr system. Thus, these statements caused X.Labs to suffer significant lost sales
 10 revenue and profits from existing and prospective customers. Such statements also
 11 caused X.Labs’ supplier, Flir, to suspend its agreement with X.Labs for a period of
 12 time. These losses and injuries were the natural and probable result of IPVM’s
 13 publication of the IPVM Articles and statements contained therein.
 14         104. X.Labs is an established business and has been an established
 15 business since 2018.
 16         105. IPVM’s acts to disparage X.Labs and its Feevr system were
 17 undertaken maliciously, intentionally, and in conscious disregard of X.Labs’ rights.
 18 Therefore, X.Labs should be awarded punitive damages sufficient to punish IPVM
 19 and to deter similar conduct in the future.
 20                            SIXTH CLAIM FOR RELIEF
 21               Unfair Competition, Cal. Bus. & Prof. Code § 17200 et seq.
 22         106. X.Labs repeats and realleges the allegations of the foregoing
 23 Paragraphs 1 through 105, as if fully set forth herein.
 24         107. IPVM’s business acts and practices in connection with the IPVM
 25 Articles are unlawful, unfair, and fraudulent. On or about March 31, 2020, April
 26 14, 2020, and April 17, 2020, IPVM published the IPVM Articles on its website.
 27 Each of the IPVM Articles constitutes false, misleading, and deceptive advertising
 28 that the Feevr system is allegedly inaccurate and poses risks to the public. On
      COMPLAINT                                   34
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  1 information and belief, IPVM knew that these representations were and are false,
  2 misleading, and deceptive and that it was not qualified to reliably and accurately
  3 test, evaluate, and review the Feevr system when it made and published these
  4 representations in the IPVM Articles. On information and belief, IPVM has a
  5 business interest in publishing its false, misleading, and deceptive statements
  6 regarding the Feevr system, for example, by generating increased IPVM
  7 membership subscription fees and increased subscriber and member traffic to its
  8 website. On information and belief, individuals who have reviewed the IPVM
  9 Articles can be expected to sign up or have signed up for IPVM’s subscription fee-
 10 based membership in order to access one or more of the Articles and other IPVM
 11 articles on similar topics. IPVM’s business acts and practices in connection with
 12 the IPVM Articles provide an unfair advantage against X.Labs’ contractual
 13 relations and prospective contractual relationships and an unfair advantage against
 14 X.Labs’ ability to maximize sales of the Feevr system.
 15         108. As a direct, proximate, and foreseeable result of IPVM’s wrongful
 16 conduct, X.Labs’ relations with both its current customers and potential future
 17 customers and suppliers have been damaged, thereby injuring X.Labs. X.Labs has
 18 therefore suffered lost sales revenue and profits and injury to its business
 19 reputation, goodwill, and integrity as a result of IPVM’s conduct alleged herein.
 20         109. IPVM’s actions hereinabove alleged are acts of unfair competition
 21 within the meaning of Cal. Bus. & Prof. Code § 17200 et seq. As such, X.Labs is
 22 entitled to injunctive relief to prohibit IPVM from any further and continued false,
 23 misleading, and deceptive advertising regarding the Feevr system under Cal. Bus.
 24 & Prof. Code § 17203. X.Labs is informed and believes that IPVM will continue
 25 to make false, misleading, and deceptive representations regarding the Feevr
 26 system to X.Labs’ customers and prospective customers and suppliers unless and
 27 until the court orders IPVM to cease and desist.
 28
      COMPLAINT                                  35
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  1                          SEVENTH CLAIM FOR RELIEF
  2                          Common Law Unfair Competition
  3         110. X.Labs repeats and realleges the allegations of the foregoing
  4 Paragraphs 1 through 109, as if fully set forth herein.
  5         111. IPVM’s business acts and practices in connection with the IPVM
  6 Articles are unlawful, unfair, and fraudulent. On or about March 31, 2020, April
  7 14, 2020, and April 17, 2020, IPVM published the IPVM Articles on its website.
  8 Each of the IPVM Articles constitutes false, misleading, and deceptive advertising
  9 that the Feevr system is allegedly inaccurate and poses risks to the public. On
 10 information and belief, IPVM knew that these representations were and are false,
 11 misleading, and deceptive and that it was not qualified to reliably and accurately
 12 test, evaluate, and review the Feevr system when it made and published these
 13 representations in the IPVM Articles. On information and belief, IPVM has a
 14 business interest in publishing its false, misleading, and deceptive statements
 15 regarding the Feevr system, for example, by generating increased IPVM
 16 membership subscription fees and increased subscriber and member traffic to its
 17 website. On information and belief, individuals who have reviewed the IPVM
 18 Articles can be expected to sign up or have signed up for IPVM’s subscription fee-
 19 based membership in order to access one or more of the Articles and other IPVM
 20 articles on similar topics. IPVM’s business acts and practices in connection with
 21 the IPVM Articles provide an unfair advantage against X.Labs’ contractual
 22 relations and prospective contractual relationships and an unfair advantage against
 23 X.Labs’ ability to maximize sales of the Feevr system.
 24         112. As a direct, proximate, and foreseeable result of IPVM’s wrongful
 25 conduct, X.Labs’ relations with both its current customers and potential future
 26 customers and suppliers have been damaged, thereby injuring X.Labs. X.Labs has
 27 therefore suffered lost sales revenue and profits and injury to its business
 28 reputation, goodwill, and integrity as a result of IPVM’s conduct alleged herein.
      COMPLAINT                                  36
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  1         113. IPVM’s conduct indicates that it has no intention to stop its acts of
  2 false, misleading, and deceptive advertising regarding the Feevr system, and,
  3 unless restrained, will not do so, to X.Labs’ great and irreparable injury, for which
  4 damages would not afford adequate relief, in that they would not completely
  5 compensate for the injury to X.Labs’ business reputation, goodwill, and integrity
  6 amongst its customers and prospective customers.
  7                           EIGHTH CLAIM FOR RELIEF
  8          False Description and False Representation, 15 U.S.C. § 1125(a)
  9         114. X.Labs repeats and realleges the allegations of the foregoing
 10 Paragraphs 1 through 113, as if fully set forth herein.
 11         115. IPVM has published false, deceptive, and misleading statements of
 12 fact and false, deceptive, and misleading representations of fact about X.Labs’
 13 Feevr system in the IPVM Articles, including as to the qualities, characteristics,
 14 and performance of such system and the commercial activities and services of
 15 X.Labs. Such statements of fact and factual representations have caused
 16 economic, business, reputational, and goodwill injury to X.Labs. On information
 17 and belief, IPVM had an economic incentive to do so because, among other things,
 18 various of its subscribers and members were and are in a competitive position vis-
 19 à-vis X.Labs and would thereby benefit from IPVM’s aforementioned statements
 20 and misrepresentations (including by further disseminating the IPVM Articles). As
 21 a result, IPVM’s statements and misrepresentations inflicted business, reputational,
 22 and goodwill injury on X.Labs to the benefits of such subscribers and members.
 23 Specifically, and without limitation, IPVM has made false, misleading, and
 24 deceptive statements and misrepresentations that the Feevr system is inaccurate
 25 and poses risks to the public and that X.Labs’ marketing of the Feevr system is
 26 misleading. For example, the March 31, 2020 Article states: “[w]e are particularly
 27 worried about how accurate this [Feevr system] will be and how misleading much
 28 of their [X.Labs’] marketing is.” In addition, the April 14, 2020 Article is entitled
      COMPLAINT                                 37
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  1 “Beware of Feevr” and begins with the statement “Beware of ‘Feevr,’” followed
  2 by an image depicting the Feevr system next to X.Labs’ Founder and CEO, Barry
  3 Oberholzer, with a large “BEWARE” warning sign stamped across the image of
  4 the Feevr system. In addition, IPVM states in the April 14, 2020 Article: “if
  5 despite the issues raised by their thermal provider FLIR and the lack of FDA
  6 approval, customers want to use such a device for ‘fever detection’, so be it, but
  7 this does pose risks to the public who may depend on this to avoid being infected
  8 in this ongoing crisis.” Further, the April 17, 2020 Article claims that there are
  9 “[p]roblems” with the Feevr system and states that “these unregulated products”
 10 “present[] a risk to the public.”
 11         116. IPVM’s Articles have actually deceived and, on information and
 12 belief, have the tendency to deceive a substantial segment of the public and
 13 IPVM’s claimed “10,000+” members, including X.Labs’ customers and
 14 prospective customers and suppliers. Indeed, numerous X.Labs customers have
 15 terminated or suspended their sales agreements for the Feevr system and cited the
 16 IPVM Articles in doing so. On information and belief, X.Labs’ prospective
 17 customers have similarly severed their business relationships with X.Labs and will
 18 not be entering into contracts to purchase X.Labs’ Feevr system due to deception
 19 by the IPVM Articles. IPVM’s false, misleading, disparaging, and deceptive
 20 statements also caused X.Labs’ supplier, Flir, to suspend its agreement with
 21 X.Labs for a period of time.
 22         117. On information and belief, in addition to the aforementioned benefits
 23 flowing to IPVM’s subscribers and members arising out of IPVM’s
 24 aforementioned statements and misrepresentations, IPVM has a business interest in
 25 publishing its false, misleading, and deceptive statements and misrepresentations
 26 regarding the Feevr system, for example, by generating increased IPVM
 27 membership subscription fees and increased subscriber and member traffic to its
 28 website. On information and belief, individuals who have reviewed the IPVM
      COMPLAINT                                 38
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  1 Articles can be expected to sign up or have signed up for IPVM’s subscription fee-
  2 based membership in order to access one or more of the Articles and other IPVM
  3 articles on similar topics.
  4         118. IPVM’s false, misleading, and deceptive statements and
  5 representations and practices are material to and influenced the decisions of
  6 X.Labs’ supplier, Flir, and the purchasing decisions of X.Labs’ customers and, on
  7 information and belief, X.Labs’ prospective customers due to the public
  8 availability of the IPVM Articles and IPVM’s readership and circulation of the
  9 IPVM Articles. In addition, IPVM’s statements were material and influenced such
 10 purchasing decisions given the importance of the topic of the IPVM Articles,
 11 namely, the accuracy of thermal screening systems during the COVID-19
 12 pandemic. Various X.Labs customers have terminated or suspended their sales
 13 agreements for the Feevr system and cited the IPVM Articles in doing so. On
 14 information and belief, X.Labs’ prospective customers have similarly severed their
 15 business relationships with X.Labs and will not be entering into contracts to
 16 purchase X.Labs’ Feevr system due to the IPVM Articles. IPVM’s false,
 17 misleading, disparaging, and deceptive statements also caused X.Labs’ supplier,
 18 Flir, to suspend its agreement with X.Labs for a period of time.
 19         119. IPVM caused the IPVM Articles and the false, misleading, and
 20 deceptive statements and representations contained therein to enter interstate
 21 commerce by publishing the IPVM Articles on the Internet and to its claimed
 22 “10,000+” subscription members across the U.S. and worldwide.
 23         120. As a result of IPVM’s false description and false representation,
 24 X.Labs has been and will continue to be harmed and suffer damages in an amount
 25 to be proven at trial, including, but not limited to, the revenue and profits that
 26 X.Labs would have made but for IPVM’s publication of its false, misleading, and
 27 deceptive statements. Numerous X.Labs customers have terminated or suspended
 28 their sales agreements for the Feevr system and cited the IPVM Articles in doing
      COMPLAINT                                   39
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  1 so. On information and belief, X.Labs’ prospective customers have similarly
  2 severed their business relationships with X.Labs and will not be entering into
  3 contracts to purchase X.Labs’ Feevr system due to the IPVM Articles. IPVM’s
  4 false, misleading, disparaging, and deceptive statements also caused X.Labs’
  5 supplier, Flir, to suspend its agreement with X.Labs for a period of time. Further,
  6 IPVM’s Articles have caused great and irreparable harm to X.Labs’ business
  7 reputation, goodwill, and integrity.
  8         121. IPVM’s acts were undertaken intentionally and were malicious,
  9 oppressive, and/or fraudulent. Therefore, X.Labs should be awarded punitive and
 10 exemplary damages sufficient to punish IPVM and to deter similar conduct in the
 11 future.
 12         122. IPVM’s conduct indicates that it has no intention to stop harassing
 13 X.Labs, and, unless restrained, will not do so, to X.Labs’ great and irreparable
 14 injury, for which damages would not afford adequate relief, in that they would not
 15 completely compensate for the injury to X.Labs’ business reputation, goodwill, and
 16 integrity amongst its customers and prospective customers.
 17                            NINTH CLAIM FOR RELIEF
 18   False Description and False Representation, Cal. Bus. & Prof. Code § 17500 et
 19                                          seq.
 20         123. X.Labs repeats and realleges the allegations of the foregoing
 21 Paragraphs 1 through 122, as if fully set forth herein.
 22         124. IPVM has published false, deceptive, and misleading statements of
 23 fact and false, deceptive, and misleading representations of fact about X.Labs’
 24 Feevr system in the IPVM Articles, including as to the qualities, characteristics,
 25 and performance of such system and the commercial activities and services of
 26 X.Labs. Such statements of fact and factual representations have caused
 27 economic, business, reputational, and goodwill injury to X.Labs. On information
 28 and belief, IPVM had an economic incentive to do so because, among other things,
      COMPLAINT                                 40
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  1 various of its subscribers and members were and are in a competitive position vis-
  2 à-vis X.Labs and would thereby benefit from IPVM’s aforementioned statements
  3 and misrepresentations (including by further disseminating the IPVM Articles). As
  4 a result, IPVM’s statements and misrepresentations inflicted business, reputational,
  5 and goodwill injury on X.Labs to the benefits of such subscribers and members.
  6 Specifically, and without limitation, IPVM has made false, misleading, and
  7 deceptive statements and misrepresentations that the Feevr system is inaccurate
  8 and poses risks to the public and that X.Labs’ marketing of the Feevr system is
  9 misleading. For example, the March 31, 2020 Article states: “[w]e are particularly
 10 worried about how accurate this [Feevr system] will be and how misleading much
 11 of their [X.Labs’] marketing is.” In addition, the April 14, 2020 Article is entitled
 12 “Beware of Feevr” and begins with the statement “Beware of ‘Feevr,’” followed
 13 by an image depicting the Feevr system next to X.Labs’ Founder and CEO, Barry
 14 Oberholzer, with a large “BEWARE” warning sign stamped across the image of
 15 the Feevr system. In addition, IPVM states in the April 14, 2020 Article: “if
 16 despite the issues raised by their thermal provider FLIR and the lack of FDA
 17 approval, customers want to use such a device for ‘fever detection’, so be it, but
 18 this does pose risks to the public who may depend on this to avoid being infected
 19 in this ongoing crisis.” Further, the April 17, 2020 Article claims that there are
 20 “[p]roblems” with the Feevr system and states that “these unregulated products”
 21 “present[] a risk to the public.”
 22         125. IPVM knew that these statements were false, misleading, deceptive,
 23 disparaging, and defamatory and acted with reckless disregard of the truth or
 24 falsity of these statements. On information and belief, IPVM knew that it was not
 25 qualified to reliably and accurately test, evaluate, and review the Feevr system
 26 when it made and published these statements in the IPVM Articles.
 27         126. IPVM’s Articles have actually deceived and, on information and
 28 belief, are likely to deceive a substantial segment of the public and IPVM’s
      COMPLAINT                                 41
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  1 claimed “10,000+” members, including X.Labs’ customers and prospective
  2 customers and suppliers. Indeed, numerous X.Labs customers have terminated or
  3 suspended their sales agreements for the Feevr system and cited the IPVM Articles
  4 in doing so. On information and belief, X.Labs’ prospective customers have
  5 similarly severed their business relationships with X.Labs and will not be entering
  6 into contracts to purchase X.Labs’ Feevr system due to deception by the IPVM
  7 Articles. IPVM’s false, misleading, disparaging, and deceptive statements also
  8 caused X.Labs’ supplier, Flir, to suspend its agreement with X.Labs for a period of
  9 time.
 10         127. On information and belief, in addition to the aforementioned benefits
 11 flowing to IPVM’s subscribers and members arising out of IPVM’s
 12 aforementioned statements and misrepresentations, IPVM has a business interest in
 13 publishing its false, misleading, and deceptive statements and misrepresentations
 14 regarding the Feevr system, for example, by generating increased IPVM
 15 membership subscription fees and increased subscriber and member traffic to its
 16 website. On information and belief, individuals who have reviewed the IPVM
 17 Articles can be expected to sign up or have signed up for IPVM’s subscription fee-
 18 based membership in order to access one or more of the Articles and other IPVM
 19 articles on similar topics.
 20         128. IPVM’s false, misleading, and deceptive statements and
 21 representations and practices are material to and influenced the decisions of
 22 X.Labs’ supplier, Flir, and the purchasing decisions of X.Labs’ customers and, on
 23 information and belief, X.Labs’ prospective customers due to the public
 24 availability of the IPVM Articles and IPVM’s readership and circulation of the
 25 IPVM Articles. In addition, IPVM’s statements were material and influenced such
 26 purchasing decisions given the importance of the topic of the IPVM Articles,
 27 namely, the accuracy of thermal screening systems during the COVID-19
 28 pandemic. Various X.Labs customers have terminated or suspended their sales
      COMPLAINT                                 42
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  1 agreements for the Feevr system and cited the IPVM Articles in doing so. On
  2 information and belief, X.Labs’ prospective customers have similarly severed their
  3 business relationships with X.Labs and will not be entering into contracts to
  4 purchase X.Labs’ Feevr system due to the IPVM Articles. IPVM’s false,
  5 misleading, disparaging, and deceptive statements also caused X.Labs’ supplier,
  6 Flir, to suspend its agreement with X.Labs for a period of time.
  7         129. IPVM publicly made and disseminated and caused the public making
  8 and dissemination of the IPVM Articles and the false, misleading, and deceptive
  9 statements and representations contained therein in and from the State of California
 10 and across the U.S. and worldwide by publishing the IPVM Articles on the Internet
 11 and to its claimed “10,000+” subscription members across the U.S. and worldwide.
 12         130. As a result of IPVM’s false description and false representation,
 13 X.Labs has been and will continue to be harmed and suffer damages in an amount
 14 to be proven at trial, including, but not limited to, the revenue and profits that
 15 X.Labs would have made but for IPVM’s publication of its false, misleading, and
 16 deceptive statements. Numerous X.Labs customers have terminated or suspended
 17 their sales agreements for the Feevr system and cited the IPVM Articles in doing
 18 so. On information and belief, X.Labs’ prospective customers have similarly
 19 severed their business relationships with X.Labs and will not be entering into
 20 contracts to purchase X.Labs’ Feevr system due to the IPVM Articles. IPVM’s
 21 false, misleading, disparaging, and deceptive statements also caused X.Labs’
 22 supplier, Flir, to suspend its agreement with X.Labs for a period of time. Further,
 23 IPVM’s Articles have caused great and irreparable harm to X.Labs’ business
 24 reputation, goodwill, and integrity.
 25         131. IPVM’s acts were undertaken intentionally and were malicious,
 26 oppressive, and/or fraudulent. Therefore, X.Labs should be awarded punitive and
 27 exemplary damages sufficient to punish IPVM and to deter similar conduct in the
 28 future.
      COMPLAINT                                   43
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  1         132. IPVM’s actions hereinabove alleged are acts of false description and
  2 false representation within the meaning of Cal. Bus. & Prof. Code § 17500 et seq.
  3 As such, X.Labs is entitled to injunctive relief to prohibit IPVM from any further
  4 and continued false, misleading, and deceptive advertising regarding the Feevr
  5 system under Cal. Bus. & Prof. Code § 17535. X.Labs is informed and believes
  6 that IPVM will continue to make false, misleading, and deceptive representations
  7 regarding the Feevr system to X.Labs’ customers and prospective customers and
  8 suppliers unless and until the court orders IPVM to cease and desist.
  9                               PRAYER FOR RELIEF
 10         WHEREFORE, X.Labs respectfully requests the Court to enter judgment in
 11 favor of X.Labs and against IPVM as to all claims asserted herein as follows:
 12         First Claim for Relief:
 13         A.    Granting a judgment that IPVM has violated California common law
 14               against intentional interference with contractual relations;
 15         B.    Granting injunctive relief, including a preliminary injunction and
 16               permanent injunction to prevent IPVM from engaging in all ongoing
 17               and future actual and threatened acts of interference with X.Labs’
 18               existing contractual and business relationships;
 19         C.    Ordering IPVM to pay damages to X.Labs for all losses and injuries,
 20               including compensatory damages according to proof in an amount to
 21               be determined at trial;
 22         D.    Awarding punitive damages against IPVM sufficient to punish IPVM
 23               for its willful misconduct as alleged herein;
 24         E.    Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 25               in this matter, together with pre-judgment and post-judgment interest
 26               and costs as fixed by the Court; and
 27         F.    For any and all other relief in accordance with proof or which is
 28               equitable and proper.
      COMPLAINT                                 44
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  1        Second Claim for Relief:
  2        A.     Granting a judgment that IPVM has violated California common law
  3               against intentional interference with prospective economic relations;
  4        B.     Granting injunctive relief, including a preliminary injunction and
  5               permanent injunction to prevent IPVM from engaging in all ongoing
  6               and future actual and threatened acts of interference with X.Labs’
  7               future contractual and business relationships;
  8        C.     Ordering IPVM to pay damages to X.Labs for all losses and injuries,
  9               including compensatory damages according to proof in an amount to
 10               be determined at trial;
 11        D.     Awarding punitive damages against IPVM sufficient to punish IPVM
 12               for its willful misconduct as alleged herein;
 13        E.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 14               in this matter, together with pre-judgment and post-judgment interest
 15               and costs as fixed by the Court; and
 16        F.     For any and all other relief in accordance with proof or which is
 17               equitable and proper.
 18        Third Claim for Relief:
 19        A.     Granting a judgment that IPVM has violated California common law
 20               against negligent interference with prospective economic relations;
 21        B.     Granting injunctive relief, including a preliminary injunction and
 22               permanent injunction to prevent IPVM from engaging in all ongoing
 23               and future actual and threatened acts of interference with X.Labs’
 24               future contractual and business relationships;
 25        C.     Ordering IPVM to pay damages to X.Labs for all losses and injuries,
 26               including compensatory damages according to proof in an amount to
 27               be determined at trial;
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      COMPLAINT                                 45
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  1        D.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
  2               in this matter, together with pre-judgment and post-judgment interest
  3               and costs as fixed by the Court; and
  4        E.     For any and all other relief in accordance with proof or which is
  5               equitable and proper.
  6        Fourth Claim for Relief:
  7        A.     Granting a judgment that IPVM has violated Cal. Civ. Code § 44 et
  8               seq. and California common law against defamation;
  9        B.     Granting injunctive relief, including a preliminary injunction and
 10               permanent injunction to prevent IPVM from engaging in all ongoing
 11               and future actual and threatened acts of defamation;
 12        C.     Ordering IPVM to pay damages to X.Labs for all losses and injuries,
 13               including compensatory damages according to proof in an amount to
 14               be determined at trial;
 15        D.     Awarding punitive damages against IPVM sufficient to punish IPVM
 16               for its willful misconduct as alleged herein;
 17        E.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 18               in this matter, together with pre-judgment and post-judgment interest
 19               and costs as fixed by the Court; and
 20        F.     For any and all other relief in accordance with proof or which is
 21               equitable and proper.
 22        Fifth Claim for Relief:
 23        A.     Granting a judgment that IPVM has violated California common law
 24               against trade libel;
 25        B.     Granting injunctive relief, including a preliminary injunction and
 26               permanent injunction to prevent IPVM from engaging in all ongoing
 27               and future actual and threatened acts of trade libel;
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      COMPLAINT                                  46
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  1        C.     Ordering IPVM to pay damages to X.Labs for all losses and injuries,
  2               including compensatory damages according to proof in an amount to
  3               be determined at trial;
  4        D.     Awarding punitive damages against IPVM sufficient to punish IPVM
  5               for its willful misconduct as alleged herein;
  6        E.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
  7               in this matter, together with pre-judgment and post-judgment interest
  8               and costs as fixed by the Court; and
  9        F.     For any and all other relief in accordance with proof or which is
 10               equitable and proper.
 11        Sixth Claim for Relief:
 12        A.     Granting a judgment that IPVM has violated Cal. Bus. & Prof. Code §
 13               17200 et seq.;
 14        B.     Granting injunctive relief, including a preliminary injunction and
 15               permanent injunction to prevent IPVM from engaging in all ongoing
 16               and future actual and threatened acts of unfair competition;
 17        C.     Awarding damages for unjust enrichment to X.Labs, including
 18               disgorgement of IPVM’s profits and/or other unjust enrichment in an
 19               amount to be determined at trial;
 20        D.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 21               in this matter, together with pre-judgment and post-judgment interest
 22               and costs as fixed by the Court; and
 23        E.     For any and all other relief in accordance with proof or which is
 24               equitable and proper.
 25        Seventh Claim for Relief:
 26        A.     Granting a judgment that IPVM has violated California common law
 27               against unfair competition;
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      COMPLAINT                                 47
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  1        B.     Granting injunctive relief, including a preliminary injunction and
  2               permanent injunction to prevent IPVM from engaging in all ongoing
  3               and future actual and threatened acts of unfair competition;
  4        C.     Awarding damages for unjust enrichment to X.Labs, including
  5               disgorgement of IPVM’s profits and/or other unjust enrichment in an
  6               amount to be determined at trial;
  7        D.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
  8               in this matter, together with pre-judgment and post-judgment interest
  9               and costs as fixed by the Court; and
 10        E.     For any and all other relief in accordance with proof or which is
 11               equitable and proper.
 12        Eighth Claim for Relief:
 13        A.     Granting a judgment that IPVM has violated Section 43(a) of the
 14               Lanham Act (15 U.S.C. § 1125(a));
 15        B.     Granting injunctive relief, including a preliminary injunction and
 16               permanent injunction to prevent IPVM from engaging in all ongoing
 17               and future actual and threatened acts of false description and false
 18               representation;
 19        C.     Ordering IPVM to pay damages to X.Labs for all losses and injuries
 20               and unjust enrichment, including compensatory damages according to
 21               proof and disgorgement of IPVM’s profits and/or other unjust
 22               enrichment in an amount to be determined at trial;
 23        D.     Awarding punitive damages against IPVM sufficient to punish IPVM
 24               for its willful misconduct as alleged herein;
 25        E.     Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 26               in this matter, together with pre-judgment and post-judgment interest
 27               and costs as fixed by the Court; and
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      COMPLAINT                                 48
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  1         F.    For any and all other relief in accordance with proof or which is
  2               equitable and proper.
  3         Ninth Claim for Relief:
  4         A.    Granting a judgment that IPVM has violated Cal. Bus. & Prof. Code §
  5               17500 et seq.;
  6         B.    Granting injunctive relief, including a preliminary injunction and
  7               permanent injunction to prevent IPVM from engaging in all ongoing
  8               and future actual and threatened acts of false description and false
  9               representation;
 10         C.    Ordering IPVM to pay damages to X.Labs for all losses and injuries
 11               and unjust enrichment, including compensatory damages according to
 12               proof and disgorgement of IPVM’s profits and/or other unjust
 13               enrichment in an amount to be determined at trial;
 14         D.    Awarding punitive damages against IPVM sufficient to punish IPVM
 15               for its willful misconduct as alleged herein;
 16         E.    Awarding to X.Labs its reasonable attorneys’ fees and costs incurred
 17               in this matter, together with pre-judgment and post-judgment interest
 18               and costs as fixed by the Court; and
 19         F.    For any and all other relief in accordance with proof or which is
 20               equitable and proper.
 21                                   JURY DEMAND
 22         Pursuant to Federal Rule of Civil Procedure 38 and Central District of
 23 California Local Rule 38-1, X.Labs demands a trial by jury on all issues so triable.
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      COMPLAINT                                 49
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  1 Dated: May 4, 2020               WILSON SONSINI GOODRICH & ROSATI
                                     Professional Corporation
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  3
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  4                                          Edward G. Poplawski
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  5
                                     Attorneys for Plaintiff
  6                                  Royal Holdings Technologies Corp.
                                     d/b/a X.Labs
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      COMPLAINT                             50
